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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       CASE NO. 6:22-cr-51-WWB-EJK

JAMES J. KING,

           Defendant.
______________________________/

 DEFENDANT’S AMENDED SENTENCING MEMORANDUM AND REQUEST FOR A
                 DOWNWARD VARIANCE SENTENCE

       The Defendant, JAMES J. KING, by and through his undersigned counsel, files this,

his Sentencing Memorandum.

       Mr. King acknowledges the serious nature of the crime to which he plead guilty, and

submits that a period of probation is an appropriate sentence given the facts of his case

and the acknowledged substantial, timely and truthful assistance he has provided to the

United States. This sentence reflects the nature and circumstances of Mr. King’s offense,

his lack of prior criminal history, his personal characteristics, his substantial cooperation

and his extreme remorse and is “sufficient, but not greater than necessary” to serve the

purposes of sentencing set forth in 18 U.S.C. § 3553(a)(2).

                                    I. INTRODUCTION

       On June 14, 2022, Mr. King entered a guilty plea to Count Three of the Indictment.

Count Three of the Indictment charged that on or about October 5, 2021, Mr. King did

knowingly possess and transfer one machine gun, that is, one auto sear device, which is

a part designed and intended for use in converting a weapon into a machine gun in

violation of 18 U.S.C. §§ 922(o) and 924(a)(2). A conviction under 18 U.S.C. § 924(a)(2)
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carries a maximum sentence of ten (10) years imprisonment, a fine of not more than

$250,000.00, a term of supervised release of up to three (3) years, and a special

assessment of $100.00.

       Mr. King respects the legal process and knows he must now face sentencing before

this Court. This Memorandum is submitted in an effort to assist the Court to impose a just

and fair sentence in this case.

                      II. SENTENCING AFTER THE UNITED
                 STATES SUPREME COURT’S DECISION IN BOOKER

       In United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed. 2d 621 (2005),

the United States Supreme Court declared unconstitutional the portion of the Sentencing

Reform Act, 18 U.S.C. § 3553(b)(1), which made the Federal Sentencing Guidelines

mandatory. As a result, the Supreme Court’s decision rendered the Sentencing Guidelines

advisory in nature. The Booker Court’s holding “requires a sentencing court to consider

Guidelines ranges, but permits the court to tailor the sentence in light of other statutory

concerns as well,” such as the individual characteristics of the defendant or the

circumstances of the offense.         Id.   Post-Booker, the Supreme Court repeatedly

emphasized the importance of the Sentencing Commission in formulating the sentencing

guidelines in light of its institutional expertise and its focus on empirical analysis:

              While rendering the Sentencing Guidelines advisory . . . we
              have nevertheless preserved a key role for the Sentencing
              Commission . . . . Congress established the Commission to
              formulate and constantly refine national sentencing standards
              . . . . Carrying out its charge, the Commission fills an important
              institutional role: It has the capacity courts lack to “base its
              determinations on empirical data and national experience,
              guided by a professional staff with appropriate expertise.”

Kimbrough v. United States, 552 U.S. 85, 108-09, 128 S.Ct. 558 (2007).

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      In light of the Supreme Court’s decision in Booker, district courts are now required

to consider both the sentencing goals in 18 U.S.C. § 3553(a) and the Sentencing

Guidelines when imposing a sentence. See, United States v. Hunt, 459 F.3d 1180 (11th

Cir. 2006); United States v. Williams, 435 F.2d 1350 (11th Cir. 2006).

      Pursuant to 18 U.S.C. § 3553(a), “[t]he court shall impose a sentence sufficient, but

not greater than necessary, to comply with the purposes set forth in paragraph (2) of this

subsection.” (Emphasis added.) This provision is the overarching command of the statute.

United States v. Riley, 655 F.Supp. 2d 1298 (S.D. Fla. Sept. 5, 2009).

      Thus, in imposing a sentence, a district court must consider the following factors in

18 U.S.C. § 3553(a):

             (1)    the nature and circumstances of the offense and the
                    history and characteristics of the defendant;

             (2)    the need to reflect the seriousness of the offense, to
                    promote respect for the law, and to provide just
                    punishment for the offense;

             (3)    the need for adequate deterrence;

             (4)    the need to protect the public;

             (5)    the need to provide the defendant with needed
                    educational or vocational training, or medical care;

             (6)    the kinds of sentences available;

             (7)    the Sentencing Guidelines range;

             (8)    pertinent policy    statements      of   the   Sentencing
                    Commission;

             (9)    the need to avoid unwarranted sentence disparities;
                    and


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              (10)   the need to provide restitution to any victims of the
                     offense.

       Although a district court is no longer bound to apply the guidelines, it must consult

and take them into account. In order to properly consult the guidelines, a district court

must accurately calculate an advisory guideline range. Williams, 435 F.3d at 1353; United

States v. Crawford, 407 F.3d 1174, 1178-79 (11th Cir. 2005). After it has made this

calculation, however, the district court may impose a more lenient sentence as long as the

sentence is reasonable.

       Although a district court is required to calculate the applicable sentencing guidelines

range, the sentencing guidelines are not presumptively reasonable or unreasonable. Gall

v. United States, 128 S.Ct. 586, 595 (U.S. 2007). In imposing sentence, a district court

may, on a case-by-case basis, determine the appropriate weight to be given to the

guidelines and the various § 3553(a) factors. United States v. Lamonda, 2008 WL 68744

(M.D. Fla. Jan. 2, 2008).

       The Final Presentence Investigation Report (PSR) was completed by the United

States Probation Office on September 12, 2022. The Final PSR calculates Mr. King’s total

offense level as a Level 19 with a criminal history category of 1. Thus, the Final PSR

provides for an advisory guideline imprisonment range of 30 - 37 months.

       III. MOTION BY UNITED STATES FOR DOWNWARD DEPARTURE OF

      DEFENDANT’S SENTENCE BASED UPON SUBSTANTIAL ASSISTANCE

       The Government has filed a Motion for Downward Departure of Mr. King’s sentence

based upon his substantial, timely and truthful assistance to the Untied States. Upon being

arrested, Mr. King immediately accepted responsibility and cooperated fully and truthfully


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with law enforcement and the government. Through his cooperation he came to realize the

danger of possession and/or selling these devices and them ending up in the wrong

persons’ possession. Mr. King has provided truthful answers to every question law

enforcement and the Government have had.

       The Court, on motion of the government, may reduce a defendant’s sentence to

reflect a defendant’s substantial assistance. USSG §5K1.1. Here, Mr. King provided

truthful and timely information to the United States which resulted in the successful

prosecution of Ivan C. Hollingsworth, Case No. 6:22-cr-52WWB-LHLP. The information

provided by Mr. King helped the government identify numerous other charges against

Hollingsworth. Eventually, Hollingsworth pled guilty a week prior to trial. Mr. King met with

the government attorney and federal agents on several occasions, even on short notice.

Through his efforts, the government was able to identify two additional suspects involved

in the commission of federal firearm violations. Mr. King’s timely and diligent assistance

led the government to develop robust evidence in this case and against the two additional

targets.

       The government in it’s Motion for Downward Departure agrees and asks the Court

that because of Mr. King’s efforts on behalf of the United States, he should receive an 8

level reduction in his offense level for his assistance, for a total offense level of 11 (Zone

B).   This carries a guideline imprisonment range of 8-14 months.              However, the

government is recommending a sentence of three years probation and 50 hours of

community service through a non-profit organization, because it believes the sanction is

sufficient but not greater than necessary to 18 U.S.C § 3553(a). Mr. King joins in the

recommended sentence of the United States.

                             IV. REASONABLE SENTENCE

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       Mr. King understands that it has been determined that he broke the law and that he

must be punished for his crime. However, in fashioning a reasonable sentence, this Court

must consider all the factors set forth in 18 U.S.C. § 3553(a).

       A.     Nature and Circumstances of the Offense

       The facts of this case are uncontested. Mr. King knowingly sold a device that

converts an otherwise legal firearm, into a machine gun. However, Mr. King’s acceptance

of responsibility, remorse, cooperation, and other factors set forth below weigh in favor of

a sentence below of the guidelines.

       B.     History and Characteristics of James J. King

       Mr. King was born in Fairfax, Virginia, on January 24, 1969 to James King and Carol

Workman (Weisenfluh). After birth, Mr. King had no contact with biological father until he

was in his late thirties when he was eventually able to locate him after years of searching.

At a young age, Mr. King’s mother married Dwight Dovel, who adopted Mr. King and

changed his name to James Edward Dovel II. Ms. Workman and Mr. Dovel later divorced

when Mr. King was around 12 years old.

       Growing up, Mr. Dovel was Mr. King’s main father figure. After the divorce, Mr. King

would share time between his mother’s residence and Mr. Dovel’s. Mr. King has two half-

siblings, Stacy Strohl and Michael Dovel, with whom Mr. King is in regular contact. Stacy

works as an Operations Manager for a law firm in Pensacola, Florida, and Mike works as

a kidney dialysis technician in Palm Bay, Florida.

       Growing up, Mr. King enjoyed learning about guns. He would attend gun shows with

Mr. Dovel, who was civil war historian, looking for unique items for his collection.

Additionally, on camping trips Mr. Dovel would teach Mr. King about guns, how to shoot


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them and proper gun safety. Mr. King never saw them as weapons used to hurt people,

but instead to be collected or used recreationally via hunting or at a shooting range.

       Mr. King graduated from Lake Weir High School in Ocala, Florida, and studied a few

courses at Brevard Community College before having to withdraw to join the workforce.

       Mr. King was married for 10 years to Kimberly King. Together they had two children

(twins, a boy and a girl). That marriage ended in divorce in 2007 when Mr. King found out

Ms. King had been unfaithful to him. Mr. King always supported his children emotionally

and financially, and following the divorce he shared custody of the children with Ms. King

until they turned 18. Both of Mr. King’s children are successful and live productive lives. His

son, Brendin, is a high structure welder and his daughter, Breann, is a manager of a

Domino’s pizza.

       Since 2012, Mr. King has been in a relationship with his now fiancé Christina Cole.

They reside together in a rental home in Melbourne, Florida. Ms. Cole has four children

from a prior relationship, two of whom live in the home with her and Mr. King, Christian

Cole (age 21) and Rylan Cole (age 14). Mr. King describes their relationship as excellent.

Mr. King helps to financially support Ms. Cole, her children and her grandchildren. Mr. King

is dedicated to his family.

       Mr. King is described by those close to him as reliable, honest, social, and hard-

working. This is demonstrated by Mr. King working two jobs to provide for him and Ms.

Cole’s family. Since 2000, he has owned his own business, Jim King Detailing, where he

details cars. Additionally, since 2014 he has worked at Sophisticated Gents Entertainment

and Design where he works as a DJ and does manual labor helping to set up for various

events.




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       There is strong support for Mr. King from those who know him and have known him

for many years, as evidenced by the attached letters received by undersigned counsel from

the following individuals (composite Exhibit A):

              a.     Mr. King’s fiancé, Christina Cole;

              b.     Mr. King’s sister, Stacy Strohl;

              c.     Mr. King’s brother-in-law, Jonathan Strohl;

              d.     Mr King’s brother, Michael Dovel;

              e.     Mr. King’s mother, Carol Workman;

              f.     Mr. King’s step-father, Edward Workman;

              g.     Mr. King’s employer and friend, Frederick Smith; and

              h.     Mr. King’s customer and friend, Thomas Switzler.

       A reading of these letters spotlight Mr. King’s caring and giving nature. For

example, he works two jobs to help support his fiancé and her children. Additionally, when

Mr. King became concerned about his brother’s drinking, he helped him overcome his

addiction to alcohol. Because of Mr. King’s concern and help, his brother was five years

sober on September 29, 2022.

       While appearing to be healthy, Mr. King suffers from chronic neck and back pain.

He was born with scoliosis in his back, which was severely aggravated by a car accident

in 1992 and a motorcycle accident around 2007. He also has herniated discs in his neck,

which in combination with other conditions, causes constant neck pain and migranes.

       When considering the totality of the man who is James King, it is clear he is a man

who made a terrible mistake, did not recognize the gravity of his conduct at the time, and

is extremely and sincerely remorseful for his actions. Mr. King grew up going to gun shows

and saw owning and possessing firearms as a hobby. He enjoyed learning about them but

never saw them as dangerous weapons used to harm people. Despite possessing auto

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sears and understanding how they operate, Mr. King has never fired a weapon using one.

An auto sear was simply a unique item to have.

              C.     Need for Just Punishment in Light of the Seriousness of the
                     Offense

       In fashioning an appropriate sentence, the Court must consider the need for the

sentenced imposed to reflect the seriousness of the offense, promote respect for the law,

provide just punishment, afford adequate deterrence to criminal conduct, and to protect the

public from further crimes of Mr. King. 18 U.S.C § 3553(a)(2).

       In Mr. King’s case, all these purposes may be properly served with a probationary

sentence as also recommended by the United States. The charge for which Mr. King has

pled, is for possessing and transferring a machine gun (auto sear). This is a device that

converts a semi-automatic rifle into an automatic one. Again, for Mr. King auto sears were

unique items to own.

       Prison will not do anything to better Mr. King. He is not a drug user. He is not in

need of education or learning a trade and prison will not serve as a deterrence for Mr. King.

For Mr. King, hurting his family was the most devastating punishment and deterrence. Mr.

King desires to be able to continue to financially and otherwise provided support and

assistance to his family.   Additionally, as previously mentioned, Mr. King suffers from

chronic neck and back pain, which will significantly increase if given a prison sentence.

       Since his arrest, Mr. King’s actions show acceptance of responsibility and extreme

remorse. He is devastated how this has impacted his life and his family. For the remainder

of his life, Mr. King will be a convicted felon. The Court need not impose a prison sentence

to convince Mr. King to not do this again. The Court need not impose a prison sentence

to protect the public from Mr. King.


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        D.     Sentencing Guidelines and Policy Statements

        While the Court must consider the applicable guideline range and Sentencing

 Commission policy statements pursuant to 18 U.S.C. § 3553(a)(4) and (5), any sentence

 within this range would be “greater than necessary” to serve the purposes of sentencing

 in Mr. King case.

        E.     Need to Avoid Unwarranted Sentencing Disparities

        Also included among the § 3553(a) factors to be considered by the Court at

 sentencing is the need to avoid unwarranted sentencing disparities among defendants who

 have been found guilty of similar conduct. 18 U.S.C. § 3553(a)(6). Whether any difference

 among sentences is warranted or unwarranted depends on the individual circumstances

 of each case and their relationship to the purposes of sentencing. “Unwarranted disparity

 is defined as different treatment of individual offenders who are similar in relevant ways,

 or similar treatment of individual offenders who differ in characteristics that are relevant to

 the purposes of sentencing.”        U.S. Sent’g Comm’n, Fifteen Years of Guidelines

 Sentencing: An Assessment of How Well the Federal Criminal Justice System is Achieving

 the Goals of Sentencing Reform 113 (2004).

        The Court is respectfully requested to take note of United States v. Max Bennett

 Chambers, Case No. 6:20-cr-78-Orl-40DC1, in the Middle District of Florida, Orlando

 Division. Pursuant to a plea agreement, Mr. Chambers entered a plea to the same offense

 as Mr. King - one count of Possession and Transfer of a Machinegun, in violation of 18

 U.S.C. § 922(o). His Pre-Sentence Report set forth a Total Offense Level of 17 and he had

 a Criminal History Score of I., which put his guideline range at 24-30 months. As part of the

 plea, the Government recommended the Court vary downward two levels under the

 guidelines, which put Mr. Chamber’s guideline range at 18-24 months. Mr. Chambers, who

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 was a student at the University of Central Florida, possessed an AR-15 that he had

 modified to make it fire automatically using an auto sear. Additionally, Mr. Chambers was

 manufacturing other auto sears, storing them on campus where firearms are prohibited,

 and had been in discussions to possibly sell them with a friend. Mr. Chambers was

 ultimately sentenced to 1 year of probation.

       The Court is respectfully requested to take note of United States v. Adam Lee

 Rosemayer, Case No. 6:21-cr-25-RBD-EJK, in the Middle District of Florida, Orlando

 Division. Mr. Rosemayer entered a plea to the same offense as Mr. King - one count of

 Possession and Transfer of a Machinegun, in violation of 18 U.S.C. § 922(o). Mr.

 Rosemayer sold 5 firearms to a CI whom he knew had been convicted of a crime

 punishable by imprisonment for a term exceeding one year. Additionally, he sold the CI 4

 auto sears. In the course of negotiations with the CI, Mr. Rosemayer stated he would sell

 to “anyone.” Later, upon searching Mr. Rosemayer’s residence, ATF agents located an

 additional three auto sears along with other firearms and firearm parts. In the criminal

 complaint, it stated that between October 21, 2019 and January 14, 2021, that Mr.

 Rosemayer had purchased 51 firearms and that there were approximately 15 firearm Trace

 Summary Reports indicating recovered firearms from various crime scenes, all listing Mr.

 Rosemayer as the original purchaser. At the time of sentencing, the Government requested

 a 4-level reduction. On August 9, 2021, Mr. Rosemayer was sentenced to 30 months

 incarceration followed by 1 year of supervised release.

       The Court is respectfully requested to take note of United States v. Marc A. Hayes,

 Case No. 6:21-cr-105-ACC-DC1, in the Middle District of Florida, Orlando Division. Mr.

 Hayes, entered a plea to one count of Possession and Transfer of a Machinegun, in

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 violation of 18 U.S.C. § 922(o) and one count of Possession of Machineguns Not

 Registered in the National Firearms Registration and Transfer Record, in violation of 26

 U.S.C. § 5841. His guidelines range was 57-71 months. At the time of sentencing, the

 Government requested a 2-level downward variance, which placed his guideline range at

 46-57 months. On February 14, 2022, Mr. Hayes was sentenced to 36 months followed by

 2 years of supervised release.

        This Court should take into account Mr. King’s individual circumstances; including,

 his lack of criminal history, age, medical condition, acceptance of responsibility, substantial

 cooperation and extreme remorse in fashioning its sentence.

                                      V. CONCLUSION

        Mr. King is fully aware that his conduct was inappropriate and illegal. He understood

 this immediately and was thus very willing to cooperate completely with law enforcement.

 He has expressed extreme remorse for his actions and has done everything he could since

 his arrest to try and remedy his actions.

        Mr. King is 54 years old. The letters of support provided to the Court (attached

 hereto as composite Exhibit A) are compelling and demonstrate that Mr. King continues

 to receive the support of his family and friends.

        There is no doubt that Mr. King must be punished for this offense, but he submits

 that a period of probation is an appropriate sentence given his lack of prior criminal history,

 his personal characteristics, substantial cooperation and his extreme remorse. Mr. King is

 grateful that the government in it’s Motion for Downward Departure also agrees that the

 imposition of such a sentence would be sufficient but not greater than necessary to comply

 with the purposes set forth in 18 U.S.C. § 3553(a).

        Respectfully submitted this 10 th day of April, 2023.

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 10, 2023, I have electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following: Ilianys Rivera Miranda, Assistant United States Attorney,

 United States Attorney’s Office, Suite 3100, 400 W. Washington Street, Orlando, FL

 32801, at ilianys.rivera@usdoj.gov, and United States Probation Officer Jennifer Trittipo,

 jennifer_trittipo@flmp.uscourts.gov

        s/ Ashley D. Parker                               s/ Warren W. Lindsey
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